Case 3:19-cv-00682-DMS-JLB Document 1 Filed 04/12/19 PageID.1 Page 1 of 6



 1   Vivian Tran, Esq.
 2   Admitted in CA, SBA# 324128
     Law Offices of Robert S. Gitmeid & Associates, PLLC
 3   11 Broadway, Suite 960
 4   New York, NY 10004
     Tel: (212) 226-5081
 5   Fax: (212) 208-2591
 6   Email: Vivian.T@gitmeidlaw.com
 7   Attorney for Plaintiff Melinda Womack
 8
                        UNITED STATES DISTRICT COURT
 9                  SOUTHERN DISTRICT OF CALIFORNIA
10                                      '19CV0682 DMS JLB
                                        COMPLAINT FOR VIOLATIONS
11   Melinda Womack,                    OF FAIR CREDIT REPORTING
                                        ACT [15 USC § 1682 et seq]
12             Plaintiff,
          vs.                           DEMAND FOR JURY TRIAL
13
     Equifax Information Services, LLC,
14
                  Defendant(s).
15

16
           COMES NOW the plaintiff by and through her attorney of record, and
17
     hereby files this complaint and alleges as follows:
18
                                     I. INTRODUCTION
19
           1.     This is an action for damages brought by an individual consumer for
20
     Defendant’s violations of the Fair Credit Reporting Act, 15. U.S.C. § 1681, et seq.
21
     (the “FCRA”) and other claims related to unlawful credit reporting practices. The
22
     FCRA prohibits furnishers of credit information to falsely and inaccurately report
23
     consumers’ credit information to credit reporting agencies.
24
                                     II. JURISDICTION
25
           2.     This Court has subject matter jurisdiction over this matter pursuant to
26
     28 U.S.C. § 1331 because the rights and obligations of the parties in this action arise
27
     out of 15 U.S.C. § 1681 and 15 U.S.C. § 1681p, which provides that an action to
28
                                                1            COMPLAINT FOR VIOLATIONS OF
                                                               FAIR CREDIT REPORTING ACT
                                                                        [15 USC §1682 et seq]
Case 3:19-cv-00682-DMS-JLB Document 1 Filed 04/12/19 PageID.2 Page 2 of 6



 1   enforce any liability created under 15 U.S.C. § 1681 may be brought in any
 2   appropriate United States District Court, without regard to the amount in controversy.
 3          3.     Venue in this district is proper pursuant to 28 U.S.C. § 1391 (b)(1)
 4   because the defendant is a resident of the state of California. Venue is also proper
 5   pursuant to 28 U.S.C. § 1391 (b)(2) because a substantial part of the events and
 6   omissions giving rise to the plaintiff’s claims occurred in California where the
 7   plaintiff resides.
 8                                       III. PARTIES
 9          4.     Plaintiff Melinda Womack (hereinafter “Plaintiff”) was, at all times
10   relevant hereto, a resident of Orange, CA. Plaintiff is a "consumer" as defined by 15
11   U.S.C. § 1681a(c) of the FCRA.
12          5.     Defendant Equifax Information Services, LLC (“Equifax”) is a limited
13   liability company organized and existing under the laws of California that engages in
14   the business of maintaining and reporting consumer credit information. Equifax is a
15   “consumer reporting agency,” as codified at 15 U.S.C. § 1681a(f).
16                                       IV. FACTS
17          6.     Wells Fargo issued an account ending in 8482 to Plaintiff; the account
18   was routinely reported on Plaintiff’s consumer credit report.
19          7.     The consumer report at issue is a written communication of information
20   concerning Plaintiff’s credit worthiness, credit standing, credit capacity, character,
21   general reputation, personal characteristics, or mode of living which is used or for
22   the purpose of serving as a factor in establishing the consumer’s eligibility for credit
23   to be used primarily for personal, family, or household purposes as defined by 15
24   U.S.C. § 1681a(d)(1) of the FCRA.
25          8.     On or about November 3, 2016 Plaintiff and Wells Fargo entered into a
26   settlement agreement for the above referenced account. A redacted copy of the
27   settlement agreement is attached hereto as Exhibit A.
28          9.     Pursuant to the terms of the settlement, Plaintiff made six monthly
                                                 2
                                                              COMPLAINT FOR VIOLATIONS OF
                                                                FAIR CREDIT REPORTING ACT
                                                                         [15 USC §1682 et seq]
Case 3:19-cv-00682-DMS-JLB Document 1 Filed 04/12/19 PageID.3 Page 3 of 6



 1   payments totaling $1,135.58 to settle and close her Wells Fargo account.
 2         10.    Plaintiff, via her debt settlement representative, timely made the
 3   requisite settlement payments.
 4         11.    Over a year and a half after the final settlement payment was made,
 5   Plaintiff’s Wells Fargo account continued to be negatively reported.
 6         12.    In particular, on a requested credit report dated October 2, 2018,
 7   Plaintiff’s Wells Fargo account was reported with a status of “CHARGE OFF,” a
 8   balance of $757.00 and a past due balance of $757.00. The relevant portion of
 9   Plaintiff’s credit report is attached hereto as Exhibit B.
10         13.    This trade line was inaccurately reported; as explained above, the
11   account was settled and paid in full, and as such, must be reported as ‘settled’ with a
12   balance of $0.00.
13         14.    On or about October 4, 2018, Plaintiff, via counsel, sent a dispute letter
14   to Equifax requesting the trade line to be corrected.
15         15.    Therefore, Plaintiff has disputed the accuracy of the derogatory
16   information reported by Wells Fargo to Equifax via certified mail in accordance with
17   15 U.S.C. § 1681i of the FCRA.
18         16.    In February 2019, Plaintiff requested an updated credit report from
19   Equifax. The trade line for the Wells Fargo account in question remained inaccurate,
20   as Equifax failed to correct the inaccuracy. The relevant portion of this credit report
21   is attached hereto as Exhibit C.
22         17.    Equifax did not notify Wells Fargo of the dispute by Plaintiff in
23   accordance with the FCRA, or alternatively, did notify Wells Fargo and Wells Fargo
24   failed to properly investigate and delete the trade line or properly update the trade
25   line on Plaintiff’s credit report. If Wells Fargo did perform a reasonable investigation
26   of Plaintiff’s dispute, Plaintiff’s Wells Fargo account would be updated to reflect a
27   ‘settled’ status with a balance of $0.00.
28         18.    Equifax failed to complete an investigation of Plaintiff’s written dispute
                                                 3
                                                              COMPLAINT FOR VIOLATIONS OF
                                                                FAIR CREDIT REPORTING ACT
                                                                         [15 USC §1682 et seq]
Case 3:19-cv-00682-DMS-JLB Document 1 Filed 04/12/19 PageID.4 Page 4 of 6



 1   and provide the results of an investigation to Plaintiff within the statutory required
 2   30-day period.
 3         19.    Equifax failed to properly maintain and failed to follow reasonable
 4   procedures to assure maximum possible accuracy of Plaintiff’s credit information
 5   and Plaintiff’s credit report, concerning the account in question, thus violating state
 6   law and the FCRA. These violations occurred before, during, and after the dispute
 7   process began.
 8         20.    At all times pertinent hereto, Equifax was acting by and through their
 9   agents, servants and/or employees, who were acting within the scope and course of
10   their employment, and under the direct supervision and control of Equifax herein.
11         21.    At all times pertinent hereto, the conduct of Equifax, as well as that of
12   their agents, servants and/or employees, was malicious, intentional, willful, reckless,
13   negligent and in wanton disregard for federal law and the rights of the Plaintiff herein.
14                                  STATEMENT OF CLAIM
15                                  (Fair Credit Reporting Act)
16         22.    Plaintiff reasserts and incorporates herein by reference all facts and
17   allegations set forth above.
18         23.    Plaintiff notified Equifax directly of a dispute on the Wells Fargo
19   account’s completeness and/or accuracy, as reported.
20         24.    Equifax failed to delete information found to be inaccurate, reinserted
21   the information without following the FCRA, or failed to properly investigate
22   Plaintiff’s disputes as required by 15 U.S.C. § 1681i(a).
23         25.    Equifax failed to maintain and failed to follow reasonable procedures to
24   assure maximum possible accuracy of Plaintiff’s credit report, concerning the
25   account in question, violating 15 U.S.C. § 1681e(b).
26         26.    As a result of the above violations of the FCRA, Plaintiff suffered actual
27   damages in one or more of the following categories: lower credit score,
28   embarrassment and emotional distress caused by the inability to obtain financing for
                                                 4
                                                              COMPLAINT FOR VIOLATIONS OF
                                                                FAIR CREDIT REPORTING ACT
                                                                         [15 USC §1682 et seq]
Case 3:19-cv-00682-DMS-JLB Document 1 Filed 04/12/19 PageID.5 Page 5 of 6



 1   everyday expenses, higher interest rates on loan offers that would otherwise be
 2   affordable and other damages that may be ascertained at a later date.
 3         27.    As a result of the above violations of the FCRA, Equifax is liable to
 4   Plaintiff for actual damages, punitive damages, statutory damages, attorney’s fees
 5   and costs.
 6         WHEREFORE, PLAINTIFF PRAYS that judgment in the sum of $45,000.00
 7   be entered against Equifax as follows:
 8        1) That judgment be entered against Equifax for actual damages pursuant
 9            to 15 U.S.C. § 1681n or alternatively, 15 U.S.C. § 1681o;
10        2) That judgment be entered against Equifax for punitive damages
11            pursuant to 15 U.S.C. § 1681n;
12        3) That the Court award costs and reasonable attorney's fees pursuant to
13            15 U.S.C. § 1681n or alternatively, 15 U.S.C. § 1681o; and
14        4) That the Court grant such other and further relief as may be just and
15            proper.
16                                DEMAND FOR JURY TRIAL
17         Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff
18   demands trial by jury in this action of all issues so triable.
19

20    Dated: April 12, 2019                        Law Offices of Robert S. Gitmeid &
21                                                 Associates, PLLC
22

23                                                 /s/ Vivian Tran
                                                   VIVIAN TRAN, ESQ.
24                                                 Attorneys for Plaintiff Melinda Womack
25                                                 Email: Vivian.T@gitmeidlaw.com
26

27

28
                                                  5
                                                               COMPLAINT FOR VIOLATIONS OF
                                                                 FAIR CREDIT REPORTING ACT
                                                                          [15 USC §1682 et seq]
Case 3:19-cv-00682-DMS-JLB Document 1 Filed 04/12/19 PageID.6 Page 6 of 6



 1                        EXHIBITS TABLE OF CONTENTS
 2   EXHIBIT                      DESCRIPTION                                  PAGE NO.
 3     A                        Settlement Agreement                              7
        B                     October 2018 Credit Report                          10
 4      C                    February 2019 Credit Reports                         12
 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20
21

22

23

24

25

26

27

28
                                            6
                                                            COMPLAINT FOR VIOLATIONS OF
                                                              FAIR CREDIT REPORTING ACT
                                                                       [15 USC §1682 et seq]
